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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                               CASE NO. 23-20175-CR-WILLIAMS

 UNITED STATES OF AMERICA,

                Plaintiff,

 vs.

 DANIEL ALBERTO CARPMAN

                Defendant.
                                      /

       UNITED STATES’ AMENDED BILL OF PARTICULARS AS TO FORFEITURE

         Plaintiff United States of America hereby files the following Bill of Particulars pursuant to

 pursuant to 32.2(a) of the Federal Rules of Criminal Procedure.

         The United States provides notice that the following properties are subject to forfeiture

 pursuant to 21 U.S.C. § 853(a)(1):

         1. Real property located at 434 SW 10th Street, Unit A, Miami, Florida 33130; and

         2. Real property located 712 Tulip Circle, Weston, Florida 33327.

         The United States provides notice that it seeks forfeiture of the following property pursuant

 to Title 21, United States Code, Section 853(p): real property located at 1060 Brickell Ave, #2201,

 Miami, Florida 33131.
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                                           Respectfully submitted,


                                           MARKENZY LAPOINTE
                                           UNITED STATES ATTORNEY

                                    By:    /s/ Nicole Grosnoff
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